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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES & EXCHANGE COMMISSION,

                    Plaintiff,

        v.                                          No. 20-cv-10832 (AT)

 RIPPLE LABS INC.,
 BRADLEY GARLINGHOUSE,
 and CHRISTIAN A. LARSEN,
               Defendants.



  [PROPOSED] ORDER GRANTING DEFENDANTS’ BRADLEY GARLINGHOUSE
   AND CHRISTIAN A. LARSEN MOTION FOR THE ISSUANCE OF LETTERS OF
          REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE

       This matter having arisen upon motion by Defendants Bradley Garlinghouse and

Christian A. Larsen (the “Individual Defendants”) for this Court to issue the Letters of Request

to the Central Authorities of the United Kingdom of Great Britain and Northern Ireland, the

Cayman Islands, the British Virgin Islands, the Hong Kong Special Administrative Region of

China, the Republic of Singapore, the Republic of Seychelles, the Republic of Korea, and the

Republic of Malta, and it appearing that these Letters of Request are appropriate,

       IT IS ORDERED, that this Court shall issue the Letters of Request in the form appearing

at the Individual Defendants’ motion for issuance of Letters of Request for International Judicial

Assistance as Exhibits 2 through 17.




Dated: ________________, 2021                        By: ________________________________

                                                            United States Magistrate Judge
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